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MICHAEL A. DiNARDO (#216991)
KELLY & KELLEY, LLP

6320 Canoga Ave, Suite 1650
Woodland Hills, CA. 91367

Office: 818-347-7900

Fax: 818-340-2859

Email: mike@kelly-kelleylaw.com

Attorneys for Movant-Plaintiff
KAPPA ALPHA ORDER

FILED
OCT 22 2020

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NORTH DISTRICT OF

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

IN THE MATTER OF A sunporna eu

NON-PARTY TWITTER, INC.

KAPPA ALPHA ORDER
Plaintiff,

Mie

DOES 1-10
Defendants.

 

 

 

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(W.D. VA Case No. 6:20-cv-00038)

DECLARATION OF MATTHEW B.
KIRSNER IN SUPPORT OF KAPPA

ALPHA ORDER’S MOTION FOR
DETERMINATION

Date: December 2, 2020
Time: 9:00 a.m.

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DECLARATION OF MATTHEW B. KIRSNER ISO KAPPA ALPHA ORDER’S MOTION FOR DETERMINATION

 

 

 

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DECLARATION OF MATTHEW B. KIRSNER

I, Matthew B. Kirsner, declare and certify as follows:

l. I am a Member with the law firm of Eckert Seamans Cherin & Mellott, LLC, and
counsel to Plaintiff Kappa Alpha Order (“KA”), in the above-captioned action. I am over 18
years of age and am competent to testify truthfully to the facts asserted herein. The following
information is based upon my personal knowledge or information and belief.

2. On June 15, 2020, KA filed its Complaint in the United States District Court for
the Western District of Virginia for trademark infringement and unfair competition against Does
1-10. A true and correct copy of the Complaint is attached hereto as Attachment 1.

3. Attached as Attachment 2 is a true and correct copy of KA’s Motion for Leave to
Issue Third-Party Subpoenas Prior to a Rule 26(f) Conference (“Motion”), which was filed in the
United States District Court for the Western District of Virginia on June 15, 2020.

4, Attached as Attachment 3 is a true and correct copy of KA’s Memorandum in
Support of its Motion for Leave to Issue Third-Party Subpoenas Prior to a Rule 26(f)
Conference, filed contemporaneously with KA’s Motion on June 15, 2020.

5. Attached as Attachment 4 is a true and correct copy of the June 24, 2020 Order
of United States District Court for Western District of Virginia (Hon. Elizabeth K. Dillon
granting KA’s Motion.

6. Attached as Attachment 5 is a true and correct copy of Subpoena issued to
Twitter, Inc. (“Twitter”) on July 1, 2020, as well as the Affidavit of Service of the Subpoena
dated July 2, 2020.

7. Attached as Attachment 6 is a true and correct copy of Twitter’s letter objecting

to the Subpoena dated July 27, 2020.

DECLARATION OF MATTHEW B. KIRSNER ISO KAPPA ALPHA ORDER’S MOTION FOR DETERMINATION
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8. Attached as Attachment 7 is a true and correct copy of KA’s letter dated August
21, 2020 responding to Twitter’s objection.

9. On September 3, 2020, I met and conferred by telephone with Mr. Michael C.
Bleicher and Mr. Hayden Schottlaender, counse! for Twitter, to discuss Twitter’s objections to
the Subpoena and KA’s responses thereto.

10. On September 10 and 29, 2020, I again met and conferred by telephone with Mr;
Bleicher and Mr. Schottlaender, counsel for Twitter, to discuss Twitter’s offer to resolve its
objections by agreeing to provide electronically stored identifying information of Defendant
Does, excluding any communications of Defendant Does, and only to the extent that such
information was reasonably accessible to Twitter, upon receipt of a judicial determination from
the United States District Court for Northern District of California that the production of

identifying information does not infringe upon the Defendant Does’ First Amendment rights.

I declare under penalty of perjury that the foregoing is true and correct. Executed on

October 21, 2020 in Richmond, Virginia.

/Matthew B. Kirsner/
Matthew B. Kirsner

DECLARATION OF MATTHEW B. KIRSNER ISO KAPPA ALPHA ORDER’S MOTION FOR DETERMINATION
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